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KEVIN PATRICK woRDs, CLER%(

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cqummnm1a-celg88

DEBRASHREE NANDY, ESQ.;
ANTHoNY A. AGOSTA, ESQ.;
MATIHEw w. HE:RON, ESQ.;
INDIVIDUALLY & DBA,
<:LARK HILL, PLC.,

Defendant(s).

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IEBAL MALPRACTICE

Plaintiff, Kevin Patrick Words sues the Defendant(s), Debrashree Nandy,
Anthony A. Agosta, and Matthew W. Heron, individually and doing business as
("DBA"), Clark Hill, a Michigan Partnership Limited Corporation, PLC.,.

JURISDICTION

1. Kevin Patrick Words was a federal prisoner, registry number 09836-089, and
was initially lnused at the Federal Correctional Institute, at Milan Michigan.
The Federal Bureau of Prisons, then transferred him to the United States Medical
Center for Federal Prisoners at, Springfield Missouri. In 2013, Mr. Words was
released and is currently a citizen of the State of Wisconsin at, Milwaukee,
where he domciles.
2. Debrashree Nandy, Esq., Michigan Bar Number P76797, currently resides in the
State of New Mexico. Anthony A. Agosta, Esq., Michigan Bar Number P57355 and
Matthew W. Heron, Michigan Bar Number P61501, respectively, are citizens of the
State of Michigan. Clark Hill, P.L.C., is incorporated under the laws of the

State of Michigan, with its' principle place of business located at, 500

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Woodward Avenue, Suite 3500, Detroit, Michigan 48226. There remain a complete
diversity of citizenship between Plaintiff and all the Defendant(s), and this
matter in controversy exceeds, exclusive of interest and cost, the sum amount,

$75,000.00, minimum requirement.
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3. Kevin Patrick Words was, atall times relevant to this Complaint, a federal
prisoner in the custody of the United States Department of Justice, Federal
Bureau of Prisons, and a client of Clark Hill, PLC.

4. Debrashree Nandy, Anthony A. Agosta, and Matthew W. Heron were, at all times
mentioned in this Complaint, members of the Michigan Bar, and actively engaged

in the practice of law in and around Detroit, Michigan. Debrashree Nandy, Anthony
A. Agosta, and Matthew W. Heron were, at all times relevant to this Complaint,
partners and or associates doing business as, Clark Hill, Pl£.

5. Debrashree Nandy, Anthony A. Agosta, and Matthew W. Heron were, at all times
material to thisaction,attorneys representing Kevin Patrick Words by virtue of
a written contract set forth by the Defendant(s) on July 11, 2013. A copy of the
contract is attached to this Complaint, marked as Ekhibit "A” and is incorporated
and made a part of this action by reference.

6. Under the written terms of the agreement, Debrashree Nandy, Anthony A. Agosta,
and Matthew W. Heron, attorney-in-fact, were obligated to put forth competent
representation in pursuit of plaintiff's civil lawsuit. See Exhibit A, pp 3,
General Rights and Responsibilities of Clients of the Firm.

7. Kevin Patrick Wbrds, hereinafter Plaintiff, request the Court take judicial
notice of Federal Case Number 2:11&cv-14261-SJM-mhn,pursuantto Federal Rules

of Evidence, Rule ZOl(b), styled Kevin Patrick Words v. United States of America,

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and William Malatinsky/éth Circuit/; specifically the relevant factual

predicate for the district court Order[Document #90]granting in part Plaintiff's
motion for leave to file a amended witness list[Document #79], granting in part
government's motion for summary judgment[Document #58], and referring case to
mediation on 9/30/16. A copy of the Order[Document #90]is attached to this
Complaint, marked as Exhibit "B" and is incorporated and made a part of this
action by reference.

8. Plaintiff initially began the Civil Action 2:11»cv-14261 as a pro se liti-
gant on September 28, 2011 pursuant to the Federal Tort Claims Act("FTCA"), 28
U.S.C. §§ 1346(b)-2671-80 and Bivens v. Six Unknown Fed. Narcotics AgentS,

403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d 619(1971)("Bivens"), complaining of
actions that occurred while he was incarcerated at the Federal Correctional
lnstitution in Milan, Michigan("FCl Milan").

9. On March 12, 2012, government filed a amended motion to dismiss, Plaintiff's
FTCA and Bivens action pursuant to Federal Rules of Civil Procedure lZ(b)(l) and
(b)(é). Subsequently, upon Plaintiff's request the court adjourned resolution of
the motion and referred the matter to the court'S Pro Bono Committee to determine
whether the Committe could locate pro bono counsel willing to represent him. The
court found that Plaintiff's case merited the assistance of an attorney if one
could be found because the allegations in his complaint were lengthy and complex,
involving a number of different defendants, and addressed actions spanning a two-
year period and involved two surgeries. When no counsel appeared for Plaintiff at
the end of the sixty day adjournment, the court instructed Plaintiff that he must
proceed pro se and referred the matter to Magistrate Judge Mona K. Majzoub. A

copy of Judge Majzoub‘s report and recommendation is attached to this Complaint,

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marked Exhibit "C" and is incorporated and made a part of this action by
reference.

10. More than four months later, Plaintiff sent a letter to the Court which was
docketed on 0ctober 25, 2012[Document #2&]. Plaintiff'S letter was construed as
a second request for appointment of counsel and a request for leave to file a
amended complaint to resolve issues raised in government's motion to dismiss
[Document #2&]. See Exhibit C, pp. 2.

ll. Relevant to this Complaint, on January 22, 2013, the magistrate directly
charged Plaintiff, "it would be futile to incorporate claims in an amended
complaint that pertain to the amputation of plaintiff's leg unless plaintiff
exhausted that claim prior to filing this lawsuit[Document #26]." See Exhibit
C, pp. 6.

12. Magistrate Majzoube went on to state, "The documents submitted to the court
do not establish exhaustion. Plaintiff should be instructed that his amended
complaint should only include claims that he believes have been fully exhausted
before the lawsuit was filed [Document #26]."

13. 0n February lh, 2013, the district judge, after adopting the magistrate's
report and recommendation, reiterated two pertinent observations: "it would be
futile to incorporate claims in an amended complaint that pertain to the ampu-
tation of Plaintiff's left leg unless Plaintiff exhausted that claim prior to
filing this lawsuit." A copy of Judge Murphy's opinion and order is attached to
this Complaint, marked Exhitit "D" and is incorporated and made a part of this
action by reference.

lh. In consideration of the court's explicit instruction, on April 21, 2013,
Plaintiff submitted a SF-95 claim for a sum certain amount $A,900,000.00. A

copy of the form is attached to this Complaint, marked Ekhibit "E" and is

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incorporated and made a part of this action by reference.

15. 0n May 15, 2013, Plaintiff was notified by agency letter that his F`TCA
claim was received April 2&, 2013 and had been assigned a claim number TRT-
NCR-2013-0h879. That letter also informed him that the government was not
required to reply until 0ctober 23, 2013. A copy of the letter is attached to
this Complaint, marked Ekhibit "F" and is incorporated and made a part of this
action by reference.

16. Interim to the tort claim, on July ll, 2013, pro bono committee attorney,
Matthew W. Heron, hereinafter Defendant, contacted Plaintiff by letter with the
attached contract "Standard Pro Bono Terms of Engagement for Legal Services",
Exhibit A. After signing, Plaintiff returned the agreement to Clark Hill, PLC.
17. Under the terms of the contract, page h, Defendant served as the principle
attorney and was responsible to supervise the case work and all work performed
by other lawyers or legal assistants in the firm.

18. Debrashree Nandy, hereinafter Defendant(s), contacted Plaintiff at his home
in Milwaukee, Wisconsin. Defendant(s) informed Plaintiff his pro se amended
version of the below-the-knee tort claim, as written, was sufficient but the
claimed amount had been adjusted to reflect an additional $100,000.00 for a
total of $5,000,000.00. Defendant(s) went on to say she had a idea or solution
concerning the exhaustion of the FTCA.for the leg. Defendant(s) did not disclose
her intentions and on August 16, 2013, she refiled a amended version to the
complaint well in advance of the October 23, 2013 six month pre-filing require-
ment cited in TRT-NCR-2013-04879.

19.0n October 2&, 2013, the government formally denied Plaintiff’s tort claim for
the below-the-knee amputation and issued certification number 7012 3050 0001 4376.

A copy of the government's reply is attached to the Complaint, marked Exhibit "G"

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and is incorporated and made a part of this action by reference.

20. Neither of the Defendant(s) tookxunxaof the April 21, 2013 tort claim,
Exhibit E, nor did either of the Defendant(s) takermme ofthe 0ctober 23,

2018 agency final denial letter, Exhibit F. Since the original complaint was
made in August 2011, the court's pre-exhaustion instruction was met and the
amended filing would then be ripe for disposition well within requirements of

28 U.S.C. § 2675(a) and 28 U.S.C. § lAOl(b) for timely filing and pre-exhaustion
at the agency level.

21. Plaintiff'slast.contact with Defendant Nandy occurred on or about 0ctober
13, 201h. Defendant Nandy did not discuss pre-exhaustion or mention it.

22. 0n or about January lA, 2015, Defendant Agosta replaced Defendant Nandy as
lead attorney for the case. At that time, the April 23, 201h six(6) month period
to timely file or amend the complaint was long expired.

23. The Defendant(s)opportunity totake note and comply with the pre-exhaustion
and six month filing deadline of paragraph 20 were squandered. The Defendant(s)
acts or omission effectivelycausaiPlaintiff to receive the unfavorable dismis-
sal of the FTCA & Bivens action for the below~the+knee amputation of his left
leg resulting in a loss of damages in the amount of $5,000,000.00. See Exhibit

B, Document #90 at, pp 15 & 16.
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2A. Kevin Patrick Words, hereinafter Plaintiff, realleges and incorporates by
reference paragraphs l through 22 of this Complaint.

25. Matthew W. Heron, Debrashree Nandy and Anthony A. Agosta, hereinafter
Defendant(s), failed to properly Vet Dr. David A. Libert("Dr. Libert")in

compliance with Mich.Comp.Law § 600.2169(a), Federal Rules of Evidence, Rule

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702 and Daubert v. Merrell Dow Pharm., lnc., 509 U.S. 529(1995), ("Daubert").
Defendant(s)' failures cause Plaintiff to appear before the court without the
benefit of expert testimony, which is a fatal mistake under Mich.Comp.Law § 600.
2169(a). A copy of the courts' 0rder striking the expert testimony of Dr. Libert
[Document #65] is attached to this Complaint, marked Exhibit "H" and is incor-
porated and made a part of this action by reference. Also, see Exhibit B,

Document #90 at, pp. 20, finding "there is a triable issue of fact that precludes
summary judgment on the standard of care issue. Whether it was the need for

wound cultures or an MRI to properly assess the extent of Words's injury and

the care that was required, the proper and timely administration of antibiotics,
or the overall effect of Words'S neuropathy compared to his long history of poorly
managed diabetes prior to self-surrender", the court went on to say, “the Court
finds that the expert testimony here creates a genuine issue of fact, and thus
renders the standard of care issue ripe for resolution by a fact-finder at trial."
26. In short, the Defendant(s) failures to qualify Dr. Libert properly overthrew
the case. On March h, 2016, offered the expert summation of Dr. Finley Brown

("Dr. Brown") a subterfuge that was contrary to the mandatory disclosure language
in Rule 37. The Defendant(s) filed a motion to amend the witness list a week after
citing Dr. Brown's testimony to support the FTCA. Dr. Brown expert testimony was
not disclosed until eight months after the deadline for expert discovery had
passed. See, Exhibit B, Document #90 at, pp. 12.

27. Dr. Libert's and Dr. Brown's expert testimony substantiated "Dr. Matalinsky's
breaches in the standard of care proximately caused Mr. Words' Severe condition,
deepened infections, and subsequent amputations. These breaches resulted in Mr.
Words' condition continuing to worsenumtilthe severity of the infections neces-

sitated amputations. In my;mofessionalopinion,EffDr. Malatisky(sic) had provided

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Medical treatment consistent with the stande of care, the amputations likely could have
been prevented. “ A copy of Dr. Brown’s summation is attached to this Complaint,
marked Exhibit “I” and s incorporated and made a part of this action by reference.

28, Because of the govemment’s April 12, 2016 proffered Rule 37 motion to
withstand the testimony of Dr. Brown, Plaintiff entered mediation of the toe tort claim in
a disadvantage from the untenable failures of the defendant(s) to secure reasonable expert
testimony. ln the event mediation break down, Plaintiff could not possibly overcome the
barrier presented by compliance with Mich.Comp.Law § 600.2169a. ln the absence
of bargaining strength, government made a single take it or leave it offer of
$15,000.00 in exchange for the certain total of $100,000.00 damages of the toe
tort claim. The Defendant(s) exclaimed hopelessness to plaintiff and he accepted
the offer. See, Exhibit B, Document #90 at, pp§ 22, “According|y, the Court will
reject the Government’s motion on the expert without prejudice for renewal at a
later time, as agreed upon on April 12, 2016 hearing.”

29. ln short, the defendant(s) failure to comply with Nlich.Comp.Laws §
600.2169a and U.S.C. § 2675(a) effectively denied Plaintiff relief in the total
amount of $4,990,000.00.

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30. Plaintiff respectfully pray the court grant, in addition to forfeit damages
from the FlCA claim, treble damages, reasonable attorney’s fees and cost to
bring this action before the Court.

A. Damages in the amount of $4,990,000.00.

B, Pre-and post judgment interest on those damages as

allowed by law: and

C. All other relief that the Court may deem just and proper.

Dated:August Q‘ l ,2018, i@i/AM /l) i/\)

Nlr. Kevin Patrick Words, Pro Se.

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